                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


In re:
                                             Case No. 20-12522 (JTD)
MALLINCKRODT PLC, et al.,
                                             (Jointly Administered)
                          Debtors.


KENNETH GREATHOUSE,
STUART ROSE, and LLOYD GLENN                 C.A. No. 22-cv-00333 (TLA)

                          Appellants,

MALLINCKRODT plc, et al.,

                          Appellees.


                   STIPULATION AND PROPOSED
               ORDER EXTENDING BRIEFING DEADLINES

         IT IS HEREBY STIPULATED AND AGREED by and between the above

captioned appellants, Kenneth Greathouse, Stuart Rose, and Lloyd Glenn (the

“Appellants”), Mallinckrodt plc and its affiliated debtors-in-possession in the above-

captioned cases (collectively, the “Debtors-Appellees”), the Governmental Plaintiff

Ad Hoc Committee, the Multi-State Governmental Entities Group, the Future

Claimants’ Representative, the Official Committee of Opioid Related Claimants,

and the Official Committee of Unsecured Creditors (collectively, the “Intervenor-

Appellees”), subject to the approval of the Court, that:


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         1.    The deadline for Appellants to file their opening brief is extended 62

days from July 1, 2022 to September 1, 2022.

         2.    The deadline for Debtors-Appellees and Intervenor-Appellees to file

their answering briefs is extended 63 days from August 1, 2022 to October 3, 2022.

         3.    The deadline for Appellants to file their reply brief is extended 63 days

from August 15, 2022 to October 17, 2022.




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Dated: June 27, 2022

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IT IS SO ORDERED this ____ day of _____________, 2022


                                        Honorable Thomas L. Ambro
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